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Plaintiffs,

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CAPACITY AS PRESIDENT OF THE
UNITED STATES; PETE HEGSETH, IN
HIS OFFICIAL CAPACITY AS SECRETARY
OF THE DEPARTMENT OF DEFENSE;
U.S. DEPARTMENT OF DEFENSE,

Defendants.

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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF CALIFORNIA

DECLARATION OF PAUL S. ECK
IN SUPPORT OF MOTION FOR
PRELIMINARY INJUNCTION

Date:

Time:
Courtroom:
Judge:

Trial Date:
Action Filed:

Declaration of Paul S. Eck ISO Preliminary Injunction Motion (3:25-cv-04870-CRB)

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DECLARATION OF PAUL S. ECK

I, Paul S. Eck, declare under penalty of perjury that the following is true and
correct:

1. I am a resident of the State of California. I am over the age of 18 and
have personal knowledge of all the facts stated herein, except to those matters
stated upon information and belief; as to those matters, I believe them to be true. If
called as a witness, I could and would testify competently to the matters set forth
below.

1. Iam a Deputy General Counsel in the California Military Department
(CMD). I have served in this role since August 2018.

2. Isubmitted declarations in support of the State’s request for a temporary
restraining order. See ECF 8, Ex. 3; ECF 39, Ex. 3.

Update on Fire Conditions Since June 11, 2025

3. Since June 11, 2025, fire conditions have improved; the weather is
cooperating with firefighting. There have been no new starts and containment on
existing fires is increasing. Of the 13 fires over 10 acres burning in California as of
June 11, 6 are no longer active. Four of the existing 7 fires will likely be fully
contained within the next two days and the Ranch Fire in San Bernardino which has
consumed over 4,200 acres, is now 85% contained. But due to climate change and
increased drought conditions, California faces a year-round risk of wildfires, which
means that the concept of a fire “season” is outdated. The National Interagency Fire
Center (NIFC) is again forecasting above normal significant fire danger for
California during the next months. In addition, neighboring states Nevada and Utah
are currently under National Weather Service “red flag” warnings, which adversely

impacts California as a fire response partner.

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Declaration of Paul S. Eck ISO Preliminary Injunction Motion (3:25-cv-04870-CRB)

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Task Force Rattlesnake Fire Prevention Work

4. Task Force Rattlesnake’s most critical work is done before any fire
ignites and before fires grow greater than 5 acres.

5. As part of the California Department of Forestry and Fire Protection
(CAL FIRE), Task Force Rattlesnake works to effectuate California’s Wildfire and
Forest Resilience Action Plan and the 2018 Strategic Fire Plan for California. These
plans provide the state’s policies on fire prevention and suppression, and CAL
FIRE has expanded its fuel management to be consistent with those policy
directives, including meeting the state and federal 1 million-acre annual restoration
target by 2025.

6. A significant part of Task Force Rattlesnake fire prevention and
suppression work consists of fuel reduction efforts. Fuels reduction work includes
prescribed fires, tree thinning, pruning, chipping, and roadway clearance. Each of
these efforts requires significant preplanning. For example, before a prescribed fire
is lit, a detailed burn plan, or prescription, is created which includes comprehensive
information about weather, terrain, fuel moisture, and values (natural resources,
humans, developments) at risk. Prescribed fire projects must have an approved,
written burn plan before a prescribed fire can be implemented.

7. The State’s fuels reduction projects reduce fire hazards and risks by
creating a break in horizontal and vertical fuel continuity that can modify future
wildfire behavior and improve community protection efforts.

8. Task Force Rattlesnake’s prevention work also includes defensible space
inspections, fire prevention education, fire hazard severity mapping, and landscape
scale forest health treatments.

9. Task Force Rattlesnake’s fuel reduction work is critical to the State’s fire
prevention.

10. Moreover, once a fire has started, the immediacy and strength of the

response is the most important factor in fire suppression. Assigning as many units
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Declaration of Paul S. Eck ISO Preliminary Injunction Motion (3:25-cv-04870-CRB)

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as possible during the “initial attack” and preventing a fire from growing beyond 5
acres is key to successful fire suppression.

11. The negative impact of the 60-day federalization of over 30% of the
California National Guard will significantly undermine the State’s ability to prevent

and respond to State emergencies, including wildfires.

I declare under penalty of perjury under the laws of the United States that the

foregoing is true and correct.

Executed on June 16, 2025, at Sacramento, Californi

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Declaration of Paul S. Eck

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Declaration of Paul S. Eck ISO Preliminary Injunction Motion (3:25-cv-04870-CRB)

